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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

 LOUJAIN HATHLOUL ALHATHLOUL,                           Civil No. 3:21-cv-01787-IM

                                    Plaintiff,
 v.                                                     PLAINTIFF’S NOTICE OF INTENT TO
                                                        FILE AMENDED COMPLAINT
 DARKMATTER GROUP,
 MARC BAIER,
 RYAN ADAMS, and
 DANIEL GERICKE

                          Defendants.
 __________________________________

                NOTICE OF INTENT TO FILE AMENDED COMPLAINT

       Pursuant to the Court’s Opinion and Order Granting Defendants’ Motion to Dismiss,

which dismissed Plaintiff’s Complaint “without prejudice and with leave to amend,” see ECF 44,

at 23, Plaintiff Loujain Alhathloul, by and through her undersigned counsel, hereby notifies the

Court of her intent to file an Amended Complaint. Plaintiff intends to file her Amended

Complaint no later than April 17, 2023, which is “within thirty days of the issuance of [the

Court’s] Opinion and Order.” ECF 44, at 23.

       Dated: March 29, 2023.

                                                 Respectfully submitted,

                                                 BOISE MATTHEWS DONEGAN LLP

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